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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                    Plaintiff,             )                8:16CR64
                                           )
      vs.                                  )
                                           )
DOMINGO RIVERA,                            )                  ORDER
                                           )
                    Defendant.             )


      This matter is before the court on the Unopposed Motion to Continue Trial [76].
Defense counsel has a previously scheduled federal trial on the same date. The
defendant has complied with NECrimR 12.1(a) at filing [77]. For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [76] is granted, as follows:

      1. The jury trial now set for September 5, 2017 is continued to October 16,
         2017.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and October 16, 2017, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED August 24, 2017.

                                 BY THE COURT:


                                 s/ Susan M. Bazis
                                 United States Magistrate Judge
